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IN THE UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF TEXAS, HOUSTON DIVISION

Joanna Burke ) CIVIL ACTION No.
) 4:24-cv-00897
Plaintiff )
vs. ) Uni
) ted States Courts

Outhern District of Texas
Deutsche Bank National Trust Company, PHH_ ) FILED
Mortgage Corporation, AVT Title Services, —_) Nov 21 N24
LLC, Mackie Wolf Zientz & Mann, PC, Judge
Tami Craft aka Judge Tamika Craft-Demming,
Judge Elaine Palmer, Sashagaye Prince, Mark D
Hopkins, Shelley L Hopkins, Hopkins Law,
PLLC, John Doe, and/or Jane Doe

Nathan Ochsner. Clerk of Court

Defendants

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PLAINTIFF’S REPLY TO RESPONSE BY DEFENDANTS TO PLAINTIFF'S
VERIFIED MOTION TO DISMISS FOR LACK OF JURISDICTION

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE AND ALL
INTERESTED PARTIES:

In legal terms, this acrimonious dispute centers around a “very important piece of real
property”—the Plaintiff's homestead. Setting aside the personal nature of the home, the Texas
Constitution, state law, and the federal bankruptcy code, along with their associated procedures
and rules, are al! designed to protect this “very important piece of real property” from being
wrongfully taken by unscrupulous, predatory lenders and loan sharks like the Defendants.

Defendants’ financial penalty data obtained from Violation Tracker website at:
https://violationtracker.goodjobsfirst.org/?company=ocwen
(Last visited: Nov. 16, 2024)

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Total Breakdown of Penalties:

(eatery Penalty Amount , |

. Oewen Financial Corporation © $2.402,905,705 '

 PHH Corporation So  5a38553,002
“Litton Loan Servicing OO - $15,506,125 oe

” Saxon Mortgage Services ee $8671 oo
Other Subsidiaries {incl Homeward Option One, etc.) OO $1.640.758,669° oe

“GandToal 8 0398,502

Grand Total = $4,480,394,502 (approximately $4.48 billion)

When a home equity loan (HELOC) is involved, this property receives additional
protections under these laws. The Texas Constitution ensures the homeowner is safeguarded by
requiring strict compliance with numerous statutory requirements, as Texas is considered a
“debtor-friendly” state. Texas common law and property laws treat any HELOC as a loan secured
by the property itself, and any disputes over such a loan are governed by a strict four-year
foreclosure timeline. Importantly, there is no personal liability for the homeowner as long as the
property remains exempt as their homestead (i-e., personal residence).

In legal terms, this is known as an in rem action, as confirmed in the deed of trust, which
outlines the legal agreement between the parties for the HELOC loan. This protection can be
extended for an additional four-year period, either ex-parte or by mutual agreement, but only if
the extension of time is properly recorded in the county’s real property records. See; Holy Cross
Church of Ged in Christ v. Wolf, 44 S.W.3d 562, 567 (Tex. 2001) (“This four-year limitations
period can be suspended by filing a written agreement in the county clerk's office where the real

property is located. Tex. Civ. Prac. Rem. Code § 16.036.”).
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Similarly, federal bankruptcy laws treat this “very important piece of real property” as
part of the bankruptcy estate, managed by the trustee upon the homeowner's filing of the
bankruptcy petition. Once the bankruptcy is filed, this property legally detaches from the
homeowner, who is then considered the “renting debtor” during the proceedings. The Debtor’s
“very important piece of real property” owner status returns after the bankruptcy case matures.

Returning to the specific facts of this case and recognizing that the court and parties are
fully aware of the history of this prolonged and contentious legal dispute, a brief summary is
provided here, relevant to this motion. On March 12, 2024, the Defendants snap-removed the
Plaintiff's lawsuit from the Harris County District Court (state court) to this District Court,
knowingly violating the automatic bankruptcy stay. Additionally, they engaged in forum
shopping, often referred to as “judge shopping,” by removing the case to this District Court
instead of the Bankruptcy Court, where Joanna Burke had already filed for voluntary Chapter 13
bankruptcy protection on March 1, 2024—well before the unlawful snap-removal.

At the time, the automatic stay was in full effect, and under federal bankruptcy law, all
debt collection litigation should cease during this period. As a result of these actions, the court
was now faced two related cases: one in the District Court and the other in Bankruptcy Court.
The District Court case was assigned to Senior Judge Ewing Werlein, Jr., while the bankruptcy
case was assigned to Judge Jeffrey Norman. Under General Order 2012-06 for the Southern
District federal courts, all bankruptcy-related cases should be automatically transferred to the
bankruptcy court as an Adversary Case. However, this transfer did not occur.

After partial briefing and consideration of the Plaintiff's Emergency Motion to Remand
and related pleadings, three months later, on June 17, 2024, this Court issued five orders. Most

notably, the Emergency Motion to Remand was denied (Doc. 18), based on the limited briefing
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regarding the violation of the automatic stay. In Judge Werlein’s opinion, the District Court, not
the Bankruptcy Court had “related to” jurisdiction at the time of the unlawful snap-removal. This

is a central issue in the current dispute and response by Defendants to the Plaintiff's motion.

A SUMMARY OF PHH’s LEGAL & JURISDICTIONAL ARGUMENTS

PHH’s position is like a passenger in a car, eagerly urging the driver, Judge Werlein, to stay
on a reckless route—a one-way street, but only in reverse. They insist that the law allows them
to travel against the traffic of established legal precedent, convinced that the “related to”
jurisdiction can be manipulated like a GPS recalculating a wrong turn. They argue that it’s not
only permissible, but the law itself.

Yet as Judge Werlein grips the wheel, steering the vehicle fall speed down this dangerous
road, the Plaintiff has already mapped the entire highway of federal case law. She has found
nothing—a barren stretch of road with no signs, no cases, no guiding principles that could justify
this illegal u-turn. She’s searched the federal docket for the past decade, only to find the highway
is clear of any precedent that would give this maneuver any legal legitimacy.

And still, PHH shouts from the passenger seat, frantically waving a map that’s blank on every
page, desperately claiming that the driver’s instincts are correct, that they can still make it. Their
response, a cacophony of baseless arguments, insists that Judge Werlein’s course is right, but not
a single case is offered to back them up. They’re screaming into the void, offering no legal
foundation, no reasoning—just empty assurances as the vehicle barrels ahead.

The Defendants are not silent bystanders; they’re active participants in this reckless drive,
cheering on the misguided driver while ignoring the cliff that looms just ahead. No legal
authority. No support. Only hollow claims of confidence, pushing full speed into the unknown,

while the road to disaster is clearly marked.
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Their argument is suicidal, and this court should not become part of the wreckage. Instead, it
should dismiss the case and remand it to state court, where the law can take a safer, more well-

driven course.

The Numbered Summarized Responses with Bulleted Replies by Plaintiff

1. Burke’s “Motion to Dismiss for Lack of Jurisdiction” is her second attempt to challenge
the jurisdiction of this court and amounts to nothing more than a motion to reconsider
her Motion to Remand.

RESPONSE: The Defendants continue to ignore the Plaintiff's legal arguments and authorities,
including the motion’s section labeled: “CHECKING JURISDICTION: LEGAL
AUTHORITIES” which explains that subject-matter jurisdiction [and void judments] can be
contested at any time, and the court is obligated to check its jurisdiction sua sponte.

2. Though a valid judgment for foreclosure exists, Burke continues to file repeated
frivolous lawsuits to stop the foreclosure sale from taking place.

RESPONSE: See; related pleadings, including surreplies wherein Plaintiff provides full legal
argument as to why the judgment of foreclosure is deficient, void and time-barred. Additionally,
Defendants continually present a frivolous argument, namely that res judicata applies, yet the
very reasoning they rely upon is rejected by their own legal authority, namely Maluski v.
Rushmore Loan Mgmt. Servs., LLC, No. 14-17-00233-CV (Tex. App. Oct. 4, 2018).

3. Burke’s second attempt to contest jurisdiction of this Court presents no new compelling
legal argument for the Court to reconsider its jurisdiction.

RESPONSE: False, refer to Plaintiff's motion and exhibits in conjunction with this reply.

4. Gen. Order 2012-06. Burke confuses internal procedures of the Court with the
jurisdiction of the Court.

RESPONSE: False, refer to 6., and Plaintiff's motion and exhibits in conjunction with this reply.

5. Bankruptcy courts are simply a ‘unit’ of the district court where they are located.

RESPONSE: True, but both Judge Werlein and PHH misinterpret the clear facts. The
bankruptcy court, as a unit of the district court, has been authorized to take full charge of its own
cases, as well as those "related to" its jurisdiction. The “related to” jurisdiction is specifically

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assigned to the bankruptcy court, and any attempt to contravene General Order 2012-06 or the
governing bankruptcy laws is a clear violation of established legal rules, procedures, and
authority.

6. Burke’s argument (properly framed) is not one about jurisdiction, it is about Burke’s
perception that the Court elected to maintain the case on its docket instead of referring
the matter to its adjunct.

RESPONSE: False. “Although jurisdiction under §§ 1334 and 1452 lies with the district court,
28 U.S.C. § 157(a) provides that "[e]ach district court may provide that any or all proceedings
arising under title 11 or arising in or related to a case under title 11 shall be referred to the
bankruptcy judges for the district. 28 U.S.C. § 157(a). The Southern District of Texas has so
provided. See General Order 2012-6 (May 24, 2012).” Cantu v. Stone, CIVIL ACTION No.
7:13-CV-292, at *5 n.4 (S.D. Tex. July 1, 2014).

7, In re Hester, 899 F.2d 361, 3698 (5th Cir. 1990). The Fifth Circuit made it abundantly
clear that a bankruptcy court’s jurisdiction rests on a district court’s jurisdiction.

RESPONSE: The next sentence in PHH’s partial citation of Hester states “It is to the district
court that bankruptcy court litigants must turn in the first instance for careful review of the
bankruptcy court's actions.”, which is discussing why the 5‘ Circuit does not have jurisdiction
to review the appeal, if it wasn’t mandamus — and which only confirms the Plaintiff's argument
that it is the Bankruptcy Court which controls proceedings, with any ‘appeals’ to the District
Court and not the Fifth Circuit, which would not have jurisdiction to review.

8. Thirteen years later affirmed in Bissonnet Invs. Llc. v. Quinlan, 320 F.3d 520, 525 (5th
Cir. 2003)

RESPONSE: BSissonnet is outdated legal authority, but for the purposes of addressing the
Defendants absurd argument, Bissonnet sub-cites in the quoted extract provided by PHH to
Celotex, via the Matter of Walker, 51 F.3d 562, 568-69 (Sth Cir. 1995), which stated:
““Congress intended to grant comprehensive jurisdiction to the bankruptcy courts so that they
might deal efficiently and expeditiously with all matters connected with the bankruptcy
estate,"” — and discusses this in granular detail. Again, PHH attempts to steer the vehicle in
contempt of the clear road signage which directs all traffic to Bankruptcy Courts - and that
includes transferring related matters like Plaintiff's case.

9. Burke had an active bankruptcy case pending at the time of removal of this case, and the
Court determined it has “related to jurisdiction” over this case as district courts have
original and exclusive jurisdiction of all cases under Title 11. See 28 U.S.C. §1334. [Doc.18].
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RESPONSE: The opinion by Senior District Judge Ewing Werlein, Jr., is erroneous. Refer to
Plaintiffs motion and exhibits in conjunction with this reply.

Burke’s grounds lack merit and are moot.

RESPONSE: False, refer to Plaintiff's motion and exhibits in conjunction with this reply re
‘grounds’ and see Plaintiff's own case citations in their response, which clearly state, “The
existence of subject matter jurisdiction is determined at the time of removal.” — Bissonnet, 320
F.3d 520, 525.

10. Burke’s argument in the alternative, that the Court should have transferred the matter
to bankruptcy court and is now without jurisdiction, is wrong.

RESPONSE: False, refer to Plaintiff's motion and exhibits in conjunction with this reply.
11. Burke’s lawsuit asserts "non-core" claims.

RESPONSE: See; Neely v. Trippon (In re Neely), BANKRUPTCY No. 04-44898-H5-7, at *14-
15 (S.D. Tex. June 19, 2013) (Fifth Circuit: Analysis of core versus non-core is the not necessary
to assert “related to” jurisdiction. The Bankruptcy Court can analyze those facts).

12. Nothing would be gained by having a bankruptcy court preside over this lawsuit as
all of Burke’s prior litigation has been conducted in the federal district court.

RESPONSE: Irrelevant conclusory assumption which is not a legal argument founded in law.

13. As Burke demanded a jury trial, this would have required returning to the district
court. Given Burke’s history of litigation, judicial resources strongly favored keeping the
matter in the district court.

RESPONSE: This argument has been rejected in Supreme Court decisions like Langenkamp v.
Culp, 498 U.S, 42, 111 S.Ct. 330, 112 L.Ed.2d 343 (1990) (per curiam). Furthermore, in Katchen
v. Landy, 382 U.S. 323, 336-37, 86 §.Ct. 467, 15 L.Ed.2d 391 (1966): “[E]stablish[ed] uniform
laws on the subject of bankruptcy, [which] convert [ ] the creditor's legal claim into an equitable
claim to a pro rata share of the res.... As bankruptcy courts have summary jurisdiction to
adjudicate controversies relating to property over which they have actual or constructive
possession, and as the proceedings of bankruptcy courts are inherently proceedings in equity,
there is no Seventh Amendment right to a jury trial for determination of objections to claims[.}”.
Whilst there was no claim filed in Plaintiff's bankruptcy, DBNTCO had made an appearance and

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court in Kafchen determined that the Bankruptcy Court is the correct “unit” for determination of
property matters to which they have constructive possession.

14. No factor that the Court may consider weighed in favor of transfer of this case to
bankruptcy court for partial consideration of the issues. Now, transfer of the case is moot,
given that Burke’s bankruptcy was dismissed.

RESPONSE: This is a conclusory statement that lacks legal substance and fails to present any
substantive argument. The reference to "mootness" is irrelevant to the core issues raised in this
motion, as discussed in 9. above.

15. As to Burke’s continued argument regarding the automatic stay, this has been
previously briefed and the Court found no violation of the automatic stay. [Doc. 18]. The
bankruptcy stay only works to stop suits “against bankrupt debtors, not suits filed by
bankrupt debtors.” As the Court found, the automatic stay was simply not applicable to a
lawsuit initiated by Burke and did not bar its removal to this court.

RESPONSE: False, refer to Plaintiff's motion and exhibits in conjunction with this reply.

DECLARATION

Pursuant to Texas Civil Practice and Remedies Code Section 132.001 and “In lieu of a
sworn affidavit, a litigant may submit an unsworn declaration as evidence against summary
judgment. See 28 U.S.C. § 1746.”, [hereby provide my unsworn declaration. My name is Joanna
Burke, my date of birth is Nov. 25, 1938, my address is 46 Kingwood Greens Dr, Kingwood,
Texas, 77339, and I declare under penalty of perjury that all information herein is true and correct.

CONCLUSION
In Cheejati v. Blinken (106 F 4th 388, 397), the Fifth Circuit clearly stated:
“When a court lacks jurisdiction, it must dismiss the case and not proceed to the merits.”
This principle directly applies here. if the District Court lacks jurisdiction over this case due
to the improper removal and violation of the automatic stay, it cannot hear the case and must

dismiss it or transfer it to the proper forum. Both Judge Werlein and PHH’s attempt to retain
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VIA USS. Mail:

Nathan Ochsner
Clerk of Court

P. O. Box 61010
Houston, TX 77208

VIA e-Mail:

Shelley L. Hopkins

Mark D. Hopkins

HOPKINS LAW, PLLC

2802 Flintrock Trace, Suite B103
Austin, Texas 78738
mark@hopkinslawtexas.com
shelley@hopkinslawtexas.com

PHH MORTGAGE CORPORATION

Josey Ene
—— ——
venom Burke, Harris County

State of Texas / Pro Se

46 Kingwood Greens Dr
Kingwood, Texas 77339

Phone Number: (281) 812-9591
Fax: (866) 705-0576

Email: joanna@2dobermans.com

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jurisdiction in the District Court under the "related to" theory runs afoul of the Fifth Circuit’s
guidance in Cheejati and fails to overcome the clear procedural rules governing bankruptcy
matters.

Further, as noted by Magistrate Judge Andrew Edison in Vita Equipose Equity Partners, LLC
v. Tig Romspen U.S. Master Mortg., Civil Action No. 3:21-cv-00358 (S.D. Tex. Aug. 12, 2024),
under 28 U.S.C. § 1447{c), once it becomes clear that the District Court lacks subject matter
jurisdiction, the case must be remanded to the proper forum. Judge Edison explained:

“Under 28 U.S.C. § 1447(c), once it becomes clear that the District Court lacks subject
matter jurisdiction, the case must be remanded to the proper forum.”.

Finally, conflating bankruptcy terminology does not support Judge Werlein’s invented
jurisdiction. In light of the above, the Plaintiff's verified motion should be GRANTED. A
proposed order has previously been provided.

RESPECTFULLY submitted this 20th day of November, 2024.

2 anne, ore

Joanna Burke, Harris County
State of Texas / Pro Se

46 Kingwood Greens Dr
Kingwood, Texas 77339

Phone Number: (281) 812-9591
Fax: (866) 705-0576

Email: joanna@2dobermans.com

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing document was served on November
20, 2024 as stated below on the following:
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Nathan Ochsner

Clerk of Court

P.O. Box 61010 -
Houston, TX 77208 a

Date: November 20, 2024
Via USPS Express Mail

Burke v. PHH Mortgage Corporation (4:24-cv-00897)
District Court, 5.D. Texas

Dear Sir or Madam,
JOANNA BURKE'S FILINGS IN THIS CASE

Please find enclosed the following documents:-

1. PLAINTIFF'S REPLY TO RESPONSE BY DEFENDANTS TO PLAINTIFF'S VERIFIED MOTION TO
DISMISS FOR LACK OF JURISDICTION,

2. MOTION FOR LEAVE TO FILE FIRST AMENDED VERIFIED SURREPLY TO PHH MORTGAGE
CORPORATION'S MOTION FOR SUMMARY JUDGMENT.

3, FIRST AMENDED VERIFIED SURREPLY TO PHH MORTGAGE CORPORATION'S MOTION FOR
SUMMARY JUDGMENT.

4, PROPOSED ORDER.

If you have any questions, please contact me at the information below.
Thank you.

Sincerely,

bons pike

Joanna Burke
46 Kingwood Greens Dr.,
Kingwood, TX, 77339
Email: joanna@2dobermans.com
Fax: +1 (866) 705-0576

